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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
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 In re                                                             Chapter 11

 PUBLE N.v and SCOTIA VALLEY N.V.                                  Case no. 17-10747

                                     Debtor.
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                                        NOTICE OF APPEARANCE

                  PLEASE TAKE NOTICE, that the undersigned hereby appears on behalf of

 Heritage Realty Services.

 Dated: New York, New York
        April 6, 2017

                                                      Backenroth Frankel & Krinsky, LLP


                                                      By:    s/ Mark Frankel
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